      Case 1:25-cv-00127-JEB                   Document 15-2                Filed 01/24/25   Page 1 of 3


From:             Stratton, Kimberly (USADC)
To:               Hulme, James H.
Cc:               Grimm, Douglas A.; Bonine, Elise L.
Subject:          RE: 1:25-cv-00127-LLA | Sagebrush Health Services v. Becerra et al
Date:             Wednesday, January 22, 2025 8:39:00 AM


Good morning, Mr. Hulme,

              After investigation, Defendants are in compliance with the Court’s order. Since issuance of
the order, they have not terminated or enforced the termination of the allegedly ineligible clinics,
nor have they required plaintiff to repay funds. The court did not direct Defendants to rescind pre-
complaint actions, and any collateral effects that may stem from pre-complaint actions are not
attributable to any post-order actions by Defendants. Defendants will address these issues further in
their brief due to be filed on Friday.

Kim Stratton | Assistant United States Attorney
Civil Division, U.S. Attorney’s Office
601 D Street, NW, Washington, D.C. 20530
Ph: (202) 417-4216 | kimberly.stratton@usdoj.gov

From: Hulme, James H. <james.hulme@afslaw.com>
Sent: Tuesday, January 21, 2025 3:40 PM
To: Stratton, Kimberly (USADC) <KStratton@usa.doj.gov>
Cc: Grimm, Douglas A. <douglas.grimm@afslaw.com>; Bonine, Elise L. <Elise.Bonine@afslaw.com>
Subject: [EXTERNAL] Re: 1:25-cv-00127-LLA | Sagebrush Health Services v. Becerra et al
Importance: High


Ms. Stratton,

Please read the Order again:

           “The status quo is the last uncontested status which preceded
           the pending controversy.” Huisha-Huisha v. Mayorkas, 27
           F.4th 718, 733 (D.C. Cir. 2022). Thus, although the HRSA’s
           deadline for terminating the twenty
           allegedly ineligible sites has already passed, a temporary
           restraining order or preliminary injunction
           would “allow[] the court to restore the status quo ante [if] the
           continuation of the changed situation
           would inflict irreparable harm on plaintiff.” 11A Charles Alan
           Wright, et al., Federal Practice
           and Procedure § 2948 (3d ed. 2024).
                                                                                   Case 1:25-cv-00127-JEB                                                                                                                                     Document 15-2   Filed 01/24/25   Page 2 of 3


                                                                                                                 In order to maintain the status quo until Sagebrush’s
                                                                                                                 motion is fully briefed, it is hereby ORDERED that an
                                                                                                                 ADMINISTRATIVE STAY is entered
                                                                                                                 pending further order of the court. During the pendency of
                                                                                                                 the administrative stay, Defendants
                                                                                                                 shall refrain from terminating or enforcing the termination of
                                                                                                                 Sagebrush’s allegedly ineligible clinics
                                                                                                                 and from requiring Sagebrush to repay funds allegedly owed to
                                                                                                                 drug manufacturers participating
                                                                                                                 in the 340B Program.

Thus, FRSA was ordered to preserve the “status quo” – “the
last uncontested status which preceded the pending
controversy.”

The sites must be reactivated immediately.




James H. Hulme
PARTNER | ARENTFOX SCHIFF LLP
james.hulme@afslaw.com | direct 202.857.6144



From: Stratton, Kimberly (USADC) <Kimberly.Stratton@usdoj.gov>
Date: Tuesday, January 21, 2025 at 3:35 PM
To: Hulme, James H. <james.hulme@afslaw.com>
Cc: Grimm, Douglas A. <douglas.grimm@afslaw.com>, Bonine, Elise L.
<Elise.Bonine@afslaw.com>
Subject: RE: 1:25-cv-00127-LLA | Sagebrush Health Services v. Becerra et al
Good afternoon, Mr. Hulme, I’m sure you are aware that the sites were terminated before the complaint was filed. The agency has not taken any further action that I am aware of, but I will investigate and get back to you. Kim Stratton |




Good afternoon, Mr. Hulme,

              I’m sure you are aware that the sites were terminated before the complaint was filed. The
agency has not taken any further action that I am aware of, but I will investigate and get back to you.

Kim Stratton | Assistant United States Attorney
Civil Division, U.S. Attorney’s Office
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Ph: (202) 417-4216 | kimberly.stratton@usdoj.gov

From: Hulme, James H. <james.hulme@afslaw.com>
        Case 1:25-cv-00127-JEB                        Document 15-2                 Filed 01/24/25               Page 3 of 3


Sent: Tuesday, January 21, 2025 3:20 PM
To: Stratton, Kimberly (USADC) <KStratton@usa.doj.gov>
Cc: Grimm, Douglas A. <douglas.grimm@afslaw.com>; Bonine, Elise L. <Elise.Bonine@afslaw.com>
Subject: [EXTERNAL] 1:25-cv-00127-LLA | Sagebrush Health Services v. Becerra et al
Importance: High


Dear Ms. Stratton,

My client informs me that the OPA database for HRSA continues to
indicate that no sites have been reinstated — contrary to the
Friday Court Order. This delay is significantly hindering the ability
to provide services to my client’s patients. We expect that HRSA
will promptly restore the sites. Please confirm that this has been
done immediately. Thank you..



                                 James H. Hulme
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